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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION


JESSICA JONES, et al.,                   Case No. 2:20-cv-02892-SHL-tmp

                Plaintiﬀs,

v.

VARSITY BRANDS, LLC, et al.

                Defendants.

                                         JURY DEMAND



      DECLARATION OF DAVID SEIDEL ATTACHING REDACTED BRIEFS
                  PREVIOUSLY FILED UNDER SEAL




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                             DECLARATION OF DAVID SEIDEL

I, David Seidel, declare the following under penalty of perjury:

       1.      I am a Partner of the Joseph Saveri Law Firm, LLP., counsel for Plaintiﬀs Jessica

Jones, Christina Lorenzen, and Amy Coulson (collectively, “Plaintiﬀs”), in Jones v. Bain Capital

Private Equity, case no. 2:20-cv-02892-SHL-tmp (“Jones Action”). I am a member in good

standing of the State Bar of California and have been admitted pro hac vice in the United States

District Court for the Western District of Tennessee, Western Division. I am over 18 years of age

and have personal knowledge of the facts stated in this Declaration. If called as a witness, I could

and would testify competently to them.

       2.      I write this declaration in response to the Court’s Order, ECF No. 596, granting

Plaintiﬀs’ request to re-ﬁle certain briefs previously ﬁled under seal with the Defendants’ and

third parties’ proposed redactions.

       3.      Attached as Exhibit 1 is a true and correct copy of Defendants’ Memorandum of

Law in Support of Motion to Exclude Testimony of Plaintiﬀs’ Proﬀered Expert Janet S. Netz,

PHD, ECF No 383, with Defendants’ proposed redactions.

       4.      Attached as Exhibit 2 is a true and correct copy of Plaintiﬀs’ Memorandum of

Law in Support of Plaintiﬀs' Motion to Exclude Jonathan M. Orszag and Dr. Kevin Murphy, In

Part, ECF No 384, with Defendants’ proposed redactions.

       5.      Attached as Exhibit 3 is a true and correct copy of Defendants’ Memorandum of

Law in Support of Motion to Exclude Testimony of Plaintiﬀs' Proﬀered Expert Randal Heeb,

PHD, ECF No 390, with Defendants’ proposed redactions.




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       6.      Attached as Exhibit 4 is a true and correct copy of Defendants' Memorandum of

Law in Support of Motion to Exclude Testimony of Plaintiﬀs' Proﬀered Expert Jen Maki, PHD,

ECF No 392, with Defendants’ and Fusion Plaintiﬀs’ 1 proposed redactions.

       7.      Attached as Exhibit 5 is a true and correct copy of Defendants’ Memorandum of

Law in Response to Plaintiﬀs’ Motion for Class Certiﬁcation, ECF No 421, with Fusion

Plaintiﬀs’ proposed redactions.

       8.      Attached as Exhibit 6 is a true and correct copy of Plaintiﬀs' Opposition to

Defendants' Motion to Exclude the Testimony of Jen Maki, PHD, ECF No 428, with Defendants’

and Fusion Plaintiﬀs’ proposed redactions.

       9.      Attached as Exhibit 7 is a true and correct copy of Plaintiﬀs’ Reply in Support of

Motion to Exclude Orszag and Murphy, ECF No 441, with Defendants’ proposed redactions.

       10.     Attached as Exhibit 8 is a true and correct copy of Defendants’ Statement of

Undisputed Material Facts in Support of Defendants’ Joint Motion for Summary Judgment, ECF

No 468, with Defendants’ proposed redactions.

       11.     Attached as Exhibit 9 is a true and correct copy of Defendants' Memorandum of

Law in Support of Joint Motion for Summary Judgment, ECF No 471, with Defendants’

proposed redactions.

       12.     Attached as Exhibit 10 is a true and correct copy of Plaintiﬀs' Statement of

Additional Undisputed Facts ISO Plaintiﬀs' Oppositions to Defendants' Motion for Summary

Judgment, ECF No 480, with Defendants’ and Fusion Plaintiﬀs’ proposed redactions.




1
 “Fusion Plaintiﬀs” refers to the plaintiﬀs in related-action Fusion Elite All Stars, et al. v. Varsity
Brands, LLC, et al.; Case No. No. 2:20-cv-02600-SHL-tmp.
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       13.    Attached as Exhibit 11 is a true and correct copy of Plaintiﬀs' Response to

Statement of Undisputed Material Facts in Support of Defendants' Joint Motion for Summary

Judgment, ECF No 482, with Defendants’ proposed redactions.

       14.    Attached as Exhibit 12 is a true and correct copy of Plaintiﬀs' Opposition to

Defendants Charlesbank Partners, LLC and Bain Capital Private Equity's Motion for Summary

Judgment, ECF No 484, with Defendants’ proposed redactions.

       15.    Attached as Exhibit 13 is a true and correct copy of Plaintiﬀs' [Corrected]

Opposition to Defendants' Joint Motion for Summary Judgment, ECF No 488-1, with

Defendants’ proposed redactions.

       16.    Attached as Exhibit 14 is a true and correct copy of Defendants' Reply

Memorandum of Law in Support of Joint Motion for Summary Judgment, ECF No 505, with

Defendants’ proposed redactions.

       17.    Attached as Exhibit 15 is a true and correct copy of Bain's and Charlesbank's

Individual Reply Memorandum of Law in Support of Motion for Summary Judgment, ECF No

506, with Defendants’ proposed redactions.

       18.    Attached as Exhibit 16 is a true and correct copy of Defendants' Reply in Support

of Statement of Undisputed Material Fact, ECF No 507, with Defendants’ proposed redactions.

       19.    Attached as Exhibit 17 is a true and correct copy of Defendants' Response to

Plaintiﬀs' Additional Statements of Fact, ECF No 508, with Defendants’ and Fusion Plaintiﬀs’

proposed redactions.



       I declare under penalty of perjury that the foregoing is true and correct. Executed on April

16, 2024 in Sn Francisco, CA.

                                                                  /s/ David Seidel
                                                                      David Seidel
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